                                      Case: 1:23-cv-00421-BMB Doc #: 1-1 Filed: 03/02/23 1 of 2. PageID #: 9
    JS44 (Rev. 3/22)                                                                 CIVIL COVER SHEET
    Tlie JS 44 civil cover sheet and the information contained herein neither replace nor supplement tlie filing and scr\'ice of pleadings or other papers as required by law. except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United Stales in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating Uie civil docket sheet. (SEE INSTRUCTIONS ON NEXT PACE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                        DEFENDANTS
Laurel El-Kliatib                                                                                                      University Hospitals Health Systems, Jerome Condron,
                                                                                                                     lillian Welch, Reed Group Management, LLC
      (b) County ofResidence offirst Listed Plaintifi'                     Cuyahoga,Ohio
                                       (EX(:EPTIN ll.s. PUINTH-E('ASES)
                                                                                                                        County ofRe.sidence offirst Listed Defendant Cuyahoga. Ohio
                                                                                                                                               ONUS PJJINTIFh CASHS ONLY)
                                                                                                                        NO'I'E: IN LAND CONDEMNATION CASES, USE THE LOCATION OE
                                                                                                                                THE TRACT OF LAND INVOLVED.
      (C) Atlornevs {Finn Nome. Address, and Telephone Number)
          Michael W.DeWiit(006C896). DeWitt Law, LLC
                                                                                                                         Attorneys (ifKnown)
          4200 Regent St., Suite 200,Columbu.s, Ohio 4.3219
          (614)398-2886                                                                                                  N/A


    IT. BASIS OF.JURISDICTION (Place an "X"in One Box Only)                                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X"in One BoxJar PkmiUy
                                                                                                                                                                                          and One Boxfor Llejcmkmi)
□'
                                                                                                                    (For Diversiiy Cases()nly)
             U.S. Government                          Federal Question                                                                           nr-           DEI'                                         PTI'         DEE
                Plaintiff                               (US. Governmeni Not a Party)                           Citizen of This State                                   liKori^oraleii or Priiici|5al Place
                                                                                                                                                                          ofBusiuess In This State


□2           U.S. Government
                Defendant
                                            I   14    Diversit}’
                                                        (Indicate Citizenship of Parties in hem III)
                                                                                                               Citizen of Another Stale         □2 □ 2                 Incorporaled and Principal Place
                                                                                                                                                                         ofBusiuess hi Anoiher State
                                                                                                                                                                                                               □
                                                                                                               Citizen or Subject of a                                 Foreign Nation                          □ 6       D6
                                                                                                                  Foreign Coniitcy

    IV. NATURE OF SUIT (Place an                        "X" in One Box Only)                                                                           Click here for: NaUir.c.«.>f-Suit CodeJlescrjplious.
                 CONTRACT                                             TORTS                                       FORFEITURE/PENALTY                            BANKRUPTCY                          OTHER STAT U TES

I         110 Insurance                         PERSONAL INJURY                    PERSONAL INJURY             ^625 Drug Related Seizure                                                         375 False Claims Act
                                                                                                                                                       ^ 422 Appeal 28 USC 1.S8
          120 Marine                            310 Airplane                [     I 365 Personal Injmy -            of Properly 21 USC 881               423 Wiiiidrawal                         376 Qni Tam (31 USC
I         130 Miller Act                        315 Airplane lYoduct                    Product Liability      □ 690 Other                                   28 USC 157                              3729(a))
          140 Negotiable Instrument                 Liability               I     I 367 Health Care/                                                                                             400 State Rcapponionmeiit
          150 Recovery of Overpayment
              & [inforcement of Judgment
                                           □    320 Assault, Libel &
                                                    Slander
                                                                                        Phannacculical
                                                                                       Personal Injiiiy
                                                                                                                                                             LVTELLECrUAL
                                                                                                                                                            PROPERTY RIGHTS
                                                                                                                                                                                                 410 Antitrust
                                                                                                                                                                                                 430 Banks and Banking
          151 Medicare Act
          152 Recovery of Defaulted
                                           □    330 Federal Employers’
                                                    Liability               I
                                                                                       Product Liability
                                                                                 I 368 AsbesU)S Personal
                                                                                                                                                       I I .820 CopjTiglits
                                                                                                                                                        “ 8.30 Patent'
                                                                                                                                                                                                 450 Commerce
                                                                                                                                                                                                 460 Deportation
              Student Loans                     340 Marine                             Injury Product                                                   ~ 835 Patent Abbrevi.ited                470 Racketeer Inlliienced anti
              (Excludes Veterans)               345 Marine Product                      Liability                                                               New Dnig Application                 Comipt Organizations
□         153 Recovery ofOvcrpayinent
              of Veteran's Benefits
                                                    Liability
                                                350 Motor Vehicle
                                                                                 PERSONAL PROPER TY
                                                                                _ 370 Otlicr I'raud
                                                                                                                            LABOR
                                                                                                               ^710 Fair Labor SUindards
                                                                                                                                                       I I 840 Tradein.-u^k
                                                                                                                                                       PI 880 Defend Trade Secrets
                                                                                                                                                                                             □   480 Consumer Credit
                                                                                                                                                                                                     (15 USC 1681 or 1692)
          160 Stockholders' Suits               355 Motor Veliicle              _ 371 Tnith in Lending              Act                                         Act of 2016                      485 Telephone Consumer
          190 Other Contract                        Product Liability                                                                                        SOtlALSECURITY                          Protection Act
□I        195 Contracl Product Liability
          196 Franchise
                                           □    360 Other Personal
                                                     Lijiity
                                                                             _ 380 Other Personal
                                                                                    Property Damage
                                                                            I I 385 Projwny Damage
                                                                                                               □ 720 Labor/Management
                                                                                                                      Relations                        □ 861 HIA( 139511)
                                                                                                                                                         862 Black Lung (923)
                                                                                                                                                                                                 490 Cable/Sat TV
                                                                                                                                                                                                 850 Securities/Comniodilies/
                                           □    .362 Personal Injury -
                                                     Medical Malpractice
                                                                                    Product Liability        *■
                                                                                                               '
                                                                                                                 _ 740 Railway Labor Act
                                                                                                                   2^1 Family iind Medical
                                                                                                                       Leave Act
                                                                                                                                                       “ 863 DlWC/DIWW (405(g))
                                                                                                                                                       □ 864 SSID Title XVI
                                                                                                                                                                                                     Exchange
                                                                                                                                                                                                 890 Other Statutory Aelions
              RkALPROfEklV                         CIVIL KKJHIS                  TlUSONtK PETflTONS               790 Other Labor Litigation           H 865 RSI (405(g))                        891 Agricultural Acts
^ 210 Land Condtnnnaiion                     440     Other Civil Rights            Habeas L'urpiis:            □ ?91 Employee Retirement                                                         893 Enviromnenlal Mtiiters
                                             441     Voting                      I 463 Alien Detainee                Income Security Act                    1‘LDEKAL lAXSuits                    895 Freedom of Infonnalion
^ 220 Foreclosure
I 230 Rent Lease & Ejeclineni                442     Employment                  I 510 Motions to Vacate                                                   I 870 Taxes (U.S. Plaintiff               Act
  240 Torts to Land                        ~ 443     Housing/                          Sentence                                                                  or Dcfeiidam)                   896 Arbitration
       245 Tort Product Liability                    Accotnmoikitious      □       530 Gcncnil                                                                                                   899 Administrative Procedure
                                                                                                                                                       □ 871 IRS—TliirdPany
    _ 290 All Other Real Property          □ 445 Ainer. w/Disabilities - □                                            JSliVIIGKAIiON                          26 USC 7609                            Act/Rcvicw or Appciil of
                                                                                   535 Detiili Penalty
                                                 Employment                        Other:
                                           □ 446 Ajiicr. \v/Disabilitics - _
                                                 Other
                                                                           _
                                                                                   540
                                                                                   550
                                                                                         Mandamus it Other
                                                                                         Civil Rights
                                                                                                               _ 462 Naturalization Application
                                                                                                                 465 Other immignition
                                                                                                                     Actions
                                                                                                                                                                                            □        Agency Decision
                                                                                                                                                                                                 950 Conslimtionalily of
                                                                                                                                                                                                     State Statutes
                                           □ 448 Education                         555   Prison Condition
                                                                                   560   Civil Detainee -
                                                                                         Conditions of
                                                                                         Confinement
           ORIGIN (Placean "X" in One Box Only)

       Original
^^^"“'TToeoeding
                               q2     Removed from
                                      State Court
                                                                  [□ 3     Rcmaitdcci from
                                                                           Appellate Court
                                                                                                         q4 Reinstated or
                                                                                                            Reopened
                                                                                                                                 □       5 Transferred from
                                                                                                                                           Another Disiricl
                                                                                                                                                                      Q 6    Mullidisiricl
                                                                                                                                                                             Litigation -
                                                                                                                                                                                                       Q 8 Miillidistricl
                                                                                                                                                                                                           Litigation -
                                                                                                                                           (speed}:)                         Transfer                      Direct file
                                                 Cite the U.S. Civil Statute under whicli you are filing (Do not die Jnrisdiciioiial statutes unless diversity):
                                                 29 U.S.C. §26L5(a)(l)-(a)(2)
    \7T     r'AlTCi: rvT7 AZ-XiriM

    VII. REQUESTED IN                           □ CMECK If THIS IS A CLASS ACTION                                 DEMAND S                                         CHECK YES only ifdcmanded in complaint:
         COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                                         JURY DEMAND:            cs    □ No
VIII. RELATED CASE(S)
      IF ANY                                         (See insiniciions):
                                                                            JUDGE                                                                           DOCKET NU.MBER
DATE
                                                                                                      'ATTORNEY OF lyiGORE
    3/2/2023                                                                                                           I                      LNi
FOR OFFICE USE ONLY

      RECi-IPT #                       AMOUNT                                            APPLYING m>                                   JUDGE                                  MAG. JUDGE
                 Case: 1:23-cv-00421-BMB Doc #: 1-1 Filed: 03/02/23 2 of 2. PageID #: 10
                                            UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF OHIO

I.               Civil Categories:(Please check one category only ).

                   1.               General Civil
                   2.               Administrative Review/Sociai Security
                   3.               Habeas Corpus Death Penalty
        *lf under Title 28. §2255, name the SENTENCING JUDGE:

                                                    CASE NUMBER;
II.    RELATED OR REFILED CASES. See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

        This action;       is RELATED to anotherPENDING civil case             is a REFILED case           was PREVIOUSLY REMANDED


If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

III.    In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

       (1)     Resident defendant. If the defendant resides in a county within this district, please set forth the name of such
       county
       COUNTY:
       Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county In
                   which it has its principal place of business in that district.

       (2)   Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
             wherein the cause of action arose or the event complained of occurred.
       COUNTY:

       (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
             place of business within the district, and the cause of action arose or the event complained of occurred outside
             this district, please set forth the county of the plaintiffs residence.
       COUNTY:

IV.    The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
       determined in Section III, please check the appropriate division.

       EASTERN DIVISION

                  AKRON                      {Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
               /                             (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
                       VELAND
                                             Lake,Lorain, Medina and Richland)
                 YOUNGSTOWN                  (Counties: Columbiana, Mahoning and Trumbull)

       WESTERN DIVISION

                  TOLEDO                    (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                             Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                             VanWert, Williams, Wood and Wyandot)
